            Case 3:16-cv-00842-SDD-RLB            Document 139        05/29/19 Page 1 of 2

                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                       )
EARL PETERS, et al.                    )
                                       )
                    Plaintiffs,        )
      v.                               )    Docket No. 16-cv-842-SDD-RLB
                                       )
RAMAN SINGH, et al.                    )
                                       )
                    Defendants.        )
____________________________________)

  MOTION FOR LEAVE TO EXCEED PAGE LIMIT REGARDING PLAINTIFF WALLACE
  BREAUX’S OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT &
               MOTION TO SUBSTITUTE INCORRECT PLEADING

       NOW INTO COURT, through undersigned counsel, comes Plaintiff Wallace Breaux who

submits this motion to exceed the page limit of his memorandum in opposition to Defendants’ summary

judgment (R. Doc. 103) pursuant to Middle District of Louisiana Local Civil Rule 7(g) and further

motion to substitute R. Doc. 132, which was incorrectly plead, with the attached proposed pleadings.

       Defendants were granted leave to exceed the 20-page limit for their Motion for Summary

Judgment by seven pages. R. Doc. 99. Nevertheless, Plaintiff attempted to keep his brief below the ten-

page limit. L.R. 7(g). However, Plaintiff respectfully submits that an additional three pages are

necessary to fully and adequately address the issues raised in Defendants’ motion for summary

judgment.

       Accordingly, Plaintiff Wallace Breaux respectfully requests that this Court grant his motion for

leave to exceed the page limit regarding his opposition to Defendants’ motion for summary judgment as

well as grant his motion to substitute the incorrect pleading with the attached proposed pleadings.

                                                     Respectfully submitted,

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            Case 3:16-cv-00842-SDD-RLB            Document 139        05/29/19 Page 2 of 2

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                                    CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2019, a copy of the Plaintiffs’ Memorandum in Support of

Motion for Leave to Exceed Page Limit & Motion to Substitute Incorrect Pleading was filed

electronically with the Clerk of Court via the CM/ECF system. Notice of this filing will be sent to all

counsel of record by operation of the court’s electronic filing system.

                                           _/s/David Lanser____________
                                              David Lanser




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